 Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 1 of 24 PageID #:4296




               IN THE UNITED STATES DISTRICT COURT
      FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


ALENA W. HAMMER,                             )
                                             )
                        Plaintiff,           )
                                             )
     v.                                        Case No. 13 C 6397
                                             )
                                             )
RESIDENTIAL CREDIT SOLUTIONS, INC.,          ) Judge Thomas M. Durkin
                                             )
                        Defendant.           )


           DEFENDANT RESIDENTIAL CREDIT SOLUTIONS, INC.’S,
             MOTION FOR JUDGMENT AS A MATTER OF LAW




                                     Respectfully submitted,

                                     Residential Credit Solutions, Inc.

                                     /s/ P. Russell Perdew
                                     P. Russell Perdew
                                     Locke Lord LLP
                                     111 South Wacker Drive
                                     Chicago, Illinois 60606
                                     (312) 443-1712
                                     rperdew@lockelord.com

                                     John P. Ryan
                                     HINSHAW & CULBERTSON
                                     222 N. LaSalle Street, Ste 300
                                     Chicago, IL 60601
                                     (312) 704-3000
                                     jryan@hinshawlaw.com
      Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 2 of 24 PageID #:4297




                                                   TABLE OF CONTENTS


INTRODUCTION ...........................................................................................................................1
LEGAL STANDARD......................................................................................................................2
ARGUMENT ..................................................................................................................................3
I.        Judgment must be entered for RCS on the contract and ICFA claims
          because there was no loan modification agreement as a matter of law. ..............................3

          A.         Hammer’s contract and ICFA claims depend on the formation of an enforceable
                     loan modification agreement....................................................................................3

          B.         Hammer rejected the loan modification offered by the FDIC. ................................4

          C.         Hammer’s change to the FDIC’s proposal was material. ........................................5

          D.         Hammer’s counteroffer was never accepted............................................................7

          E.         Hammer’s conversation with the FDIC is irrelevant. ..............................................8

II.       Punitive damages should not have been submitted to the jury as a
          matter of law. .....................................................................................................................11

III.      Judgment should be entered in RCS’s favor on Hammer’s RESPA claim........................14

          A.         There was no valid QWR because the letter was sent to the
                     wrong address. .......................................................................................................14

          B.         Hammer suffered no damages from any alleged RESPA violation.......................16

CONCLUSION..............................................................................................................................17




                                                                      i
   Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 3 of 24 PageID #:4298




                                              TABLE OF AUTHORITIES

                                                                                                                            Page(s)
FEDERAL CASES

Appelbaum v. Milwaukee Metropolitan Sewerage Dist.,
   340 F.3d 573 (7th Cir. 2003) .....................................................................................................2

Arrow Master, Inc. v. Unique Forming Ltd.,
   12 F.3d 709 (7th Cir. 1993) .......................................................................................................5

Bally v. Homeside Lending, Inc.,
   No. 02 C 5799, 2005 WL 2250856 (N.D. Ill. Sept. 8, 2005)...................................................15

Berneike v. CitiMortgage, Inc.,
   708 F.3d 1141 (10th Cir. 2013) ...............................................................................................15

Business Sys. Eng’g v. IBM Corp.,
   547 F.3d 882 (7th Cir. 2008) .....................................................................................................2

Byrd v. Homecomings Financial Network,
   407 F. Supp. 2d 937 (N.D. Ill. 2005) .......................................................................................16

Dawson Gen. Motors Corp.,
  977 F.2d 369, 374 (7th Cir. 1992) .............................................................................................5

Diedrich v. Ocwen Loan Servicing, LLC,
   No. 13-CV-693, 2015 WL 1885630 (E.D. Wis. Apr. 24, 2015)..............................................16

E.B. Harper & Co. v. Nortek, Inc.,
   104 F.3d 913 (7th Cir. 1997) .....................................................................................................4

Europlast, Ltd. v. Oak Switch Systems, Inc.,
   10 F.3d 1266 (7th Cir. 1993) ...................................................................................................12

In re Destron, Inc.,
    59 B.R. 240 (N.D. Ill. Bnkr. 1986) ............................................................................................6

Jackson v. Bunge Corp.,
   40 F.3d 239 (7th Cir. 1994) .......................................................................................................3

Jeppesen v. Rust,
   8 F.3d 1235 (7th Cir. 1993) .....................................................................................................12

Kempner Mobile Elec. Inc. v. Southwestern Bell Mobile Sys.,
   428 F.3d 706 (7th Cir. 2006) .....................................................................................................3

Konieczka v. Wachovia Mortg. Corp.,
   No. 11 C 0071, 2012 WL 1049910 (N.D. Ill. Mar. 28, 2012) .................................................16


                                                                  ii
   Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 4 of 24 PageID #:4299




Malcak v. The Westchester Park District,
   754 F.2d 239 (7th Cir. 1985) .....................................................................................................2

Massey v. Blue Cross-Blue Shield of Illinois,
  226 F.3d 922 (7th Cir. 2000) .....................................................................................................2

Mehra v. Shindler,
  No. 14-cv-7506, 2015 WL 1996793 (N.D. Ill. Apr. 29, 2015)................................................11

Ne. Ill. Reg’l R.R. Corp. v. Kiewit W. Co.,
    396 F. Supp. 2d 913 (N.D. Ill. 2005) .........................................................................................6

Nelson v. Prod. Credit Ass'n of the Midlands,
   930 F.2d 599 (8th Cir. 1991) .....................................................................................................6

Roth v. CitiMortgage, Inc.,
   756 F.3d 178 (2d Cir. 2014).....................................................................................................15

Sipe v. Countrywide Bank,
   690 F. Supp. 2d 1141 (E.D. Cal. 2010)......................................................................................6

Stafford v. Puro,
    63 F.3d 1436 (7th Cir. 1995) ...................................................................................................12

Styx v. Wells Fargo Bank, N.A.,
    No. 09-5960, 2010 WL 1253971 (N.D. Ill. Mar. 24, 2010) ....................................................12

STATE CASES

Aames Capital Corp. v. Interstate Bank of Oak Forest,
   315 Ill. App. 3d 700 (Ill. App. Ct. 2000) .................................................................................10

Academy Chicago Publishers v. Cheever,
   144 Ill. 2d 24 (1991) ............................................................................................................4, 10

De Bouse v. Bayer,
   235 Ill. 2d 544 (2009) ..............................................................................................................11

Ebert v. Dr. Scholl’s,
   137 Ill. App. 3d 550 (Ill. App. Ct. 1985) ...................................................................................5

First Nat. Bank of Logansport v. Logan Mfg. Co.,
    577 N.E.2d 949 (Ind. 1991) .......................................................................................................6

Imperial Utility Corp. v. Cytron,
   673 S.W.2d 858 (Mo. Ct. App. 1984)......................................................................................13

Jamestowne on Signal, Inc. v. First Fed. Sav. & Loan Ass'n,
   807 S.W.2d 559 (Tenn. Ct. App. 1990) .....................................................................................6


                                                                   iii
   Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 5 of 24 PageID #:4300




Melrose Park Nat’l Bank v. Carr,
   249 Ill. App. 3d 9 (Ill. App. Ct. 1993) .....................................................................................10

Morris v. Harvey Cycle and Camper,
  392 Ill. App. 3d 399 (Ill. App. Ct. 2009) .................................................................................11

Peterson Development Co. v. Torrey Pines Bank,
   233 Cal. App. 3d 103 (Cal. Ct. App. 1991) ...............................................................................6

Phillips. v. Old Ben Coal Co.,
   1991 Ill. App. LEXIS 72 (Ill. App. Ct. 1991)..........................................................................12

Stansel v. Am. Sec. Bank,
   547 A.2d 990 (D.C. Ct. App. 1988)...........................................................................................6

Suffield Dev. Associates Ltd. P'ship v. Soc'y for Sav.,
    708 A.2d 1361 (Conn. 1998) .....................................................................................................6

T.O. Stanley Boot Co. v. Bank of El Paso,
   847 S.W.2d 218 (Tex. 1992)......................................................................................................6

FEDERAL STATUTES

Fed. R. Civ. P. 50(b) ........................................................................................................................2

12 U.S.C. § 5104(e) .........................................................................................................................8

15 U.S.C. § 45(a) .............................................................................................................................8

15 U.S.C. § 1638(f)..........................................................................................................................8

STATE STATUTES

740 ILCS 80/2................................................................................................................................10

FEDERAL REGULATIONS

12 C.F.R. § 1026.41(d) ....................................................................................................................8

24 C.F.R. § 3500.21(e)(1)..............................................................................................................14




                                                                      iv
  Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 6 of 24 PageID #:4301




       Under Federal Rule of Civil Procedure 50(b), Defendant Residential Credit Solutions,

Inc. (“RCS”) hereby renews its motion for judgment as a matter of law in favor of RCS and

against Plaintiff Alena W. Hammer on all counts of Hammer’s complaint.

                                      INTRODUCTION

       Hammer defaulted on her home mortgage loan in April 2009 and undisputedly failed to

make a payment on the loan after that date. Hammer does not dispute her default but claims the

default was cured by a loan modification she received in mid-2010. Her claims for breach of

contract and violation of the Illinois Consumer Fraud Act (“ICFA”) allege that RCS refused to

honor the purported loan modification, refused to accept modified loan payments, and

improperly pursued foreclosure when Hammer was complying with the loan modification. Thus,

Hammer’s contract and ICFA claims assume she received a valid loan modification.

       But the evidence shows no enforceable loan modification agreement exists as a matter of

law, so RCS is entitled to judgment on Hammer’s contract and ICFA claims. Although

Hammer’s prior servicer (“FDIC”) offered her a loan modification in June 2010, Hammer never

accepted that modification. She instead made a material change to the proposed modification

agreement (reducing the unpaid balance by over $2,300), which was a counteroffer. RCS never

accepted Hammer’s counteroffer (and neither did anyone else), so no loan modification

agreement was ever formed. The lack of a loan modification agreement eliminates any basis for

Hammer’s contract and ICFA claims, so judgment for RCS should be entered on those claims.

       Judgment for RCS on Hammer’s punitive-damage claim should also be entered for two

reasons. First, judgment on the ICFA claims eliminates any basis for punitive damages because

those were the only claims on which a punitive-damage jury instruction was given. Second, even

if judgment for Hammer on the ICFA claims stands, there was no basis for the submission of

punitive damages to the jury. RCS strongly believes that no loan modification exists. But even if

                                                1
  Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 7 of 24 PageID #:4302




the Court disagrees, RCS certainly had a reasonable and good-faith belief that no loan

modification existed, and all of RCS’s conduct was based on that reasonable belief. Further,

unrebutted evidence shows that RCS repeatedly attempted to provide Hammer with a

comparable loan modification, but she refused. Thus, there is no evidence that RCS acted in a

willful and wanton manner towards Hammer, so as to support punitive damages.

       Finally, judgment for RCS on Hammer’s RESPA claim is required because Hammer did

not send the purported qualified written request (“QWR”) to the correct address, so there is no

RESPA liability, and because there is no evidence any RESPA violation damaged Hammer.

       For these reasons, judgment should be entered in RCS’s favor on all claims.

                                      LEGAL STANDARD

       A party who moved for judgment as a matter of law at the close of evidence can renew its

motion after a verdict against that party. Fed. R. Civ. P. 50(b). The standard for evaluating a Rule

50(b) motion “mirrors that employed in evaluating a summary judgment motion.” Appelbaum v.

Milwaukee Metropolitan Sewerage Dist., 340 F.3d 573, 578-79 (7th Cir. 2003). The court should

not make credibility determinations, but should determine “only whether [the jury was]

presented with a legally sufficient amount of evidence from which it could reasonably derive its

verdict.” Massey v. Blue Cross-Blue Shield of Illinois, 226 F.3d 922, 924 (7th Cir. 2000). Despite

the deference a jury verdict is owed, the fact remains that if “the nonmoving party did not

introduce enough to support her claim, then judgment as a matter of law is correct.” Id.

       “Under Illinois law, if there is no dispute over the relevant facts, the question of the

existence of a contract is solely a matter of law for determination by the court.” Malcak v. The

Westchester Park District, 754 F.2d 239, 243 (7th Cir. 1985) (reversing jury verdict; no evidence

to support existence of contract); Business Sys. Eng’g v. IBM Corp., 547 F.3d 882, n.2 (7th Cir.

2008) (existence of contract “was properly determined by the district court, and not a jury”).

                                                 2
     Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 8 of 24 PageID #:4303




         Whether to submit punitive damages to the jury is also a question of law for the trial

court. Kempner Mobile Elec. Inc. v. Southwestern Bell Mobile Sys., 428 F.3d 706, 714 (7th Cir.

2006) (affirming judgment as a matter of law on punitive damages; “the preliminary question of

whether the facts of a particular case justify the imposition of punitive damages is properly one

of law ….”); Jackson v. Bunge Corp., 40 F.3d 239, 247 (7th Cir. 1994) (same)

                                             ARGUMENT

I.       Judgment must be entered for RCS on the contract and ICFA claims because there
         was no loan modification agreement as a matter of law.

         A.     Hammer’s contract and ICFA claims depend on the formation of an
                enforceable loan modification agreement.

         Hammer’s contract and ICFA claims were based entirely on RCS’s failure to honor a

purported loan modification Hammer alleges she received from the FDIC. Hammer argued that

RCS improperly initiated collection and foreclosure activity against her even though she was

trying to make her modified loan payments. See Ex. 1 hereto, Trial Transcript Excerpts, p.

1317:7–20 (Hammer’s closing argument asserting “I said we were suing for three important

rules. And the first was RCS did not follow the loan modification the FDIC gave to Hammer. …

The second thing we told you is they didn’t handle Miss Hammer’s payments properly.”).1 In

other words, Hammer’s contract and ICFA claims required a valid loan modification agreement.

         There could be no contract or ICFA claims without a loan modification agreement

because Hammer was undisputedly in default under the original terms of her loan. RCS’s witness

Spencer Cull gave unrebutted testimony that: (1) Hammer’s unmodified loan had a monthly

payment of over $1,500 (Ex. 1, pp. 670:11–671:1); (2) when Hammer’s loan transferred to RCS

in August 2010, no such payments had been made since April 2009 (Id., p. 605:17–606:5); and,


1
  The third thing related to the RESPA claim, which is discussed below. Ex. 1, pp. 1317:25–1318:2 (“And
then the last thing was they did not properly respond to a request that they were required to respond to.”).


                                                     3
  Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 9 of 24 PageID #:4304




(3) RCS rejected Hammer’s payments of $749.88 because they were insufficient to bring her

loan current under the unmodified terms. Id. p. 641:9–19. Given Hammer’s undisputed default

under the unmodified loan, RCS’s collection and foreclosure were appropriate unless there was

an enforceable loan modification. See Ex. 2 hereto, Def. Tr. Ex. 5, Mortgage (authorizing

foreclosure in event of default). But as discussed below, there was no such modification.

       B.      Hammer rejected the loan modification offered by the FDIC.

       “Hammer [had] the burden of proving … [t]he existence of a contract for a loan

modification between Hammer and the FDIC.” Doc. No. 179, p. 20, Jury Instruction No. 20. To

prove a loan modification agreement, Hammer needed evidence of mutual assent, i.e., a “meeting

of the minds.” Academy Chicago Publishers v. Cheever, 144 Ill. 2d 24, 30 (1991) (“An

enforceable contract must include a meeting of the minds or mutual assent as to the terms of the

contract.”). Mutual assent requires offer and acceptance. E.B. Harper & Co. v. Nortek, Inc., 104

F.3d 913, 918 (7th Cir. 1997) (“In Illinois, to prove a prima facie case for breach of contract, a

party first must prove an offer, an acceptance and consideration.”). The purported contractual

terms must be clear enough that “the promises and performances to be rendered by each party are

reasonably certain.” Cheever, 144 Ill. 2d at 29. Where a contract “provides no basis for

determining when breach has occurred, [there] is not a valid and enforceable contract.”). Id.

       The FDIC offered Hammer a loan modification in June 2010. Ex. 3 hereto, Def. Tr. Ex.

17, Proposed Modification. The modification would have brought Hammer current by waiving

over $17,000 in unpaid and past-due interest (Ex. 1, pp. 648:18–21, 651:21–24) and would have

cut Hammer’s monthly payment in half (from more than $1,500 to $749.88) by reducing her

interest rate and extending the loan’s amortization period. Ex. 4 hereto, Pl. Tr. Ex. 5, Loan

Modification Terms. The modification also recapitalized (i.e., added to the principal balance)



                                                 4
    Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 10 of 24 PageID #:4305




$2,303.60 in fees and costs for the foreclosure previously filed against Hammer. Ex. 1, p.

654:10–23; Ex. 2, p. 7, ¶ 9 (authorizing addition of foreclosure fees to principal balance); Ex. 4.

        While Hammer could have accepted the modification by returning a signed copy,

Hammer chose to instead reject the offer and propose a significantly different loan. Specifically,

Hammer changed one of the most basic and critical terms of the loan modification—the amount

to be repaid. Hammer struck out the proposed unpaid principal balance of $209,471.59 and

inserted a new, reduced, principal balance of $207,167.99. Ex. 5 hereto, Pl. Tr. Ex. 6, Hammer’s

counteroffer, p. 2; Ex. 1, p. 920:2–6. In other words, Hammer proposed reducing the repayment

amount by $2,303.60 (the foreclosure fees recapitalized by the loan modification).

        Changing a material term is not an acceptance, but is instead a rejection and counteroffer.

Dawson Gen. Motors Corp., 977 F.2d 369, 374 (7th Cir. 1992) (“A purported acceptance that

contains different or additional terms is not a valid acceptance, but is treated as a counter-

offer.”); Ebert v. Dr. Scholl’s, 137 Ill. App. 3d 550, 559 (Ill. App. Ct. 1985) (no contract where

“plaintiff’s original offer was substantially modified by defendant, thus creating not an

acceptance, but a counteroffer”). See also, Jury Instruction No. 21, Doc. No. 179, p. 21 (“For the

acceptance to be valid … Hammer must have agreed to all of the material terms in the offer …”).

Thus, Hammer’s decision to change the loan amount and insert the lower amount she preferred

was a rejection of the FDIC’s proposed loan modification and a counteroffer.2

        C.      Hammer’s change to the FDIC’s proposal was material.

        Hammer’s reduction of the loan amount by over $2,300 was a material change. A

contract term is material if it is so important that the contract would not have been made without

it. Arrow Master, Inc. v. Unique Forming Ltd., 12 F.3d 709, 715 (7th Cir. 1993) (“In other

2
  Hammer also failed to accept the loan modification offer by June 25, 2010, which was the deadline for
return of the signed modification agreement. Ex. 5, p. 1. This independently shows no acceptance.


                                                    5
    Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 11 of 24 PageID #:4306




words, we ask whether the performance of that provision was the sine qua non of the contract’s

fulfillment.”). Numerous courts have specifically found that the loan amount is a material term of

a loan agreement. See In re Destron, Inc., 59 B.R. 240, 244 (N.D. Ill. Bnkr. 1986) (summary

judgment on contract claim where no agreement on material terms; “[t]he minimum elements

necessary to establish a contract to lend money are the amount, the interest rate, the duration of

the loan and the method of repayment.”); Nelson v. Prod. Credit Ass'n of the Midlands, 930 F.2d

599, 605 (8th Cir. 1991) (affirming judgment on contract claim; “[t]he district court correctly

found that [defendant] and [plaintiffs] did not agree on a loan amount …, this is fatal to the

formation of a contract.”); see also Ne. Ill. Reg’l R.R. Corp. v. Kiewit W. Co., 396 F. Supp. 2d

913, 921 (N.D. Ill. 2005) (“[p]rice is generally an essential term of a common law contract”).3

        Here, Hammer easily could have accepted the proposed loan modification by returning a

signed copy, thereby agreeing to repay the proposed loan amount of $209,471.59. But Hammer
3
  There is widespread acceptance that the loan amount is a material term of a loan contract. See, e.g., First
Nat. Bank of Logansport v. Logan Mfg. Co., 577 N.E.2d 949, 952 (Ind. 1991) (reversing judgment on
contract claim; “there was no binding oral contract… [because] there was no agreement as to the amount
of loan, the rate of interest, the duration, the terms of repayment, or security for the loan.”); Suffield Dev.
Associates Ltd. P'ship v. Soc'y for Sav., 708 A.2d 1361, 1366 (Conn. 1998) (reversing jury verdict on
contract claim because “the plaintiff did not produce sufficient evidence to show an agreement as to an
essential term of the alleged contract, namely, the loan amount.”); Peterson Development Co. v. Torrey
Pines Bank, 233 Cal. App. 3d 103, 115 (Cal. Ct. App. 1991) (affirming summary judgment on contract
claim because commitment letter did not include, among other terms, the loan amount; “[t]he material
terms of a loan include … the amount of the loan ….”); T.O. Stanley Boot Co. v. Bank of El Paso, 847
S.W.2d 218, 221 (Tex. 1992) (affirming dismissal of contract claim where material terms missing; “[i]n a
contract to loan money, the material terms will generally be: the amount to be loaned, maturity date of the
loan, the interest rate, and the repayment terms.”); Stansel v. Am. Sec. Bank, 547 A.2d 990, 993 (D.C. Ct.
App. 1988) (affirming directed verdict on contract claim in part due to lack of agreement over material
terms; “Neither defendant offered evidence of any specific terms of the alleged agreement, such as the
exact amount of the loans…”); Jamestowne on Signal, Inc. v. First Fed. Sav. & Loan Ass'n, 807 S.W.2d
559, 564 (Tenn. Ct. App. 1990) (reversing jury verdict for borrowers on contract claim because material
terms of loan not agreed upon; “for an agreement to loan money to be enforceable it must contain such
essential elements as the amount of money to be loaned, the duration of the loan, the rate of interest, the
method of payment, and collateral securing the loan.”); Sipe v. Countrywide Bank, 690 F. Supp. 2d 1141,
1159 (E.D. Cal. 2010) (dismissing contract claim because material terms missing; “[i]n the lending
context, a loan commitment is not binding on the lender unless it contains all of the material terms of the
loan, which include… the amount of the loan….”).



                                                       6
    Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 12 of 24 PageID #:4307




(who had a lawyer advising her regarding the loan modification)4 instead chose to reject that loan

amount and propose a lower amount of $207,167.99. Plainly, the amount Hammer was required

to repay is a critical term (if not the defining term) of the loan agreement, so Hammer’s attempt

to reduce the loan amount was a material change. Certainly, no one could credibly argue that if

the situation were reversed, and RCS attempted to increase the loan amount by over $2,300, then

such a change would be deemed immaterial and something Hammer was simply required to

accept. Thus, Hammer’s proposed reduction of the loan amount was a material change

constituting a rejection of the FDIC’s proposed loan modification and a counteroffer.

          D.      Hammer’s counteroffer was never accepted.

          Hammer made her counteroffer to RCS by sending a signed and altered copy of the loan

modification agreement (reflecting her $2,300 reduction in the loan amount) to RCS on or

around August 16, 2010. Ex. 1, p. 922:2–6; Ex. 5, p. 5. There is no evidence RCS ever accepted

Hammer’s counteroffer. Instead, RCS immediately called Hammer’s attorney (who had returned

the altered loan modification agreement signed by Hammer) and said the change was

unacceptable and no loan modification existed. Ex. 1, p. 922:7–10. Thus, there is no evidence

that RCS ever accepted Hammer’s counteroffer, so no loan modification contract exists.

          There is also no evidence the FDIC accepted Hammer’s counteroffer, though it had no

authority to do so in any event. Hammer made her counteroffer on or after August 16, 2010. Ex.

1, p. 922:2–6; Ex. 5, p. 5. This was more than two weeks after servicing of Hammer’s loan

transferred from the FDIC to RCS. Ex. 6 hereto, Defense Trial Exs. 21 and 22, Servicing

Transfer Notices. Hammer acknowledged receiving notice of the transfer. Ex. 1, p. 918:14–20.




4
    Ex. 1, pp. 914:23–915:11.


                                                 7
 Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 13 of 24 PageID #:4308




Thus, when Hammer rejected the FDIC’s proposed loan modification and made her counteroffer,

RCS was the loan servicer and the only entity with authority to accept her counteroffer.

       Further, the loan modification as altered by Hammer could not have been accepted

because the altered loan amount ($207,167.99) did not match the principal and interest payment

($749.88). RCS’s representative offered unrebutted testimony that RCS’s servicing system

would have rejected a loan modification with those mismatched loan and payment amounts

because that payment amount was calculated for the proposed loan amount ($209,471.59), and

would not properly amortize for the loan amount as altered by Hammer. Ex. 1, pp. 614:10–

620:12. Indeed, mortgage statements with the mismatched loan and payment amounts would be

inaccurate and would potentially violate the federal Truth in Lending Act. 15 U.S.C. 1638(f)

(requiring disclosure of unpaid principal balance in periodic statements to borrower); 12 C.F.R.

§ 1026.41(d) (requiring periodic statements to disclose payment amount and unpaid balance).

Providing inaccurate monthly statements with the mismatched loan and payment amounts

created by Hammer’s alteration also could have subjected RCS to liability for deceptive acts

under either the federal FTC Act (15 U.S.C. § 45(a)) or equivalent state statutes, including ICFA.

Similarly, if RCS had reported incorrect information in the Mortgage Call Report mandated

under the Secure and Fair Enforcement for Mortgage Licensing Act of 2008, it could have been

liable for providing inaccurate information. See 12 U.S.C. 5104(e). Thus, RCS could not have

accepted the mismatched loan and payment amounts created by Hammer’s alternation.

       In sum, Hammer’s counteroffer was never accepted, so no loan modification was formed.

       E.      Hammer’s conversation with the FDIC is irrelevant.

       Finally, the lack of an enforceable loan modification agreement is not changed by

Hammer’s claimed August 2010 conversation with the FDIC. Hammer testified that she spoke



                                                8
 Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 14 of 24 PageID #:4309




with an individual from the FDIC in August 2010, immediately before making her counteroffer

to RCS. That conversation does not create an enforceable loan modification for four reasons.

       First, and most significantly, this Court specifically ruled that the conversation was not

offered for its truth (because it would then be inadmissible hearsay), so the jury could not

consider the conversation in determining if an enforceable loan modification agreement existed:

       Ladies and gentlemen, the statements—as I told you yesterday, statements—by
       any representatives of the FDIC made to the plaintiff are not being offered for
       their truth. The FDIC is not here. There’s no witness from the FDIC. They are
       merely being offered to show what Ms. Hammer did in response to statements
       from someone over the phone that said they were with the FDIC.

       They’re especially not being offered in any way to prove whether or not there is
       a valid contract or not. Nothing that Ms. Hammer testifies as to whether or not—
       whether certain things were told to her by the FDIC goes to the issue of—those
       statements from that person from the FDIC she had on the phone, none of those
       go to the issue of—whether or not there's a valid contract or mortgage loan
       modification or not.

Ex. 1, p. 850:10–24 (emphasis added). Thus, this Court’s own proper limiting instruction

prevents considering the conversation to determine if a loan modification agreement exists.

       Second, even aside from this Court’s limiting instruction, Hammer’s August 2010

conversation with the FDIC has no bearing on whether a loan modification exists because the

FDIC no longer serviced the loan. Servicing transferred to RCS as of August 1, 2010, more than

two weeks before Hammer’s conversation. Ex. 6. Indeed, the individual Hammer spoke with

acknowledged that servicing had already transferred. Ex. 1, p. 851:19–20 (Hammer testified the

FDIC individual told her “the loan was transferred as of the beginning of the month”). Thus, the

FDIC simply had no authority over the loan at that point, and could not have done anything to

create an enforceable loan modification agreement.

       Third, Hammer’s loan could not have been altered by an oral agreement, under both the

terms of her loan and the Illinois Statute of Frauds. As part of her original loan, Hammer signed


                                                 9
 Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 15 of 24 PageID #:4310




a “Notice of No Oral Agreements,” providing that the terms of her loan “may not be contradicted

by evidence of … subsequent oral agreements of the Parties.” Ex. 7 hereto, Def. Tr. Ex. 7.

Further, the Illinois Statute of Frauds prevents the enforcement of a contract affecting land and

for a longer term than one year, unless the contract is in writing and signed by the person against

whom enforcement is sought (here, RCS). 740 ILCS 80/2. This applies to Hammer’s mortgage

which is an interest in land and has a term longer than one year. See Aames Capital Corp. v.

Interstate Bank of Oak Forest, 315 Ill. App. 3d 700, 703 (Ill. App. Ct. 2000) (mortgage “is an

interest in land created by written instrument providing security in real estate to secure the

payment of a debt”) citing Resolution Trust Corp. v. Holtzman, 248 Ill. App. 3d 105, 111 (Ill.

App. Ct. 1993). The Statute of Frauds also applies to loan modification agreements. See Melrose

Park Nat’l Bank v. Carr, 249 Ill. App. 3d 9, 15 (Ill. App. Ct 1993) (written contract within the

statute of frauds may not be modified by oral agreement). Thus, an August 2010 conversation

could not serve to create an enforceable loan modification agreement where that agreement was

never signed by RCS.

       Finally, even setting all those issues aside, the substance of the conversation does not

even reveal an offer to reduce the principal balance. Instead, the individual Hammer spoke to

simply stressed the urgency of sending in the modification immediately, and told Hammer not to

worry about the fees “right now.” Ex. 1, pp. 851:18–852:4. There is no indication that the person

was even purporting to authorize a reduction in the loan amount, rather than express the need to

submit the loan modification agreement quickly. Certainly nothing about that conversation

shows certain terms as required for an enforceable contract. See Cheever, 144 Ill. 2d at 29.

       But there is no need for the Court to parse the details of Hammer’s purported

conversation with the FDIC. As noted above, this Court already (and correctly) ruled the



                                                 10
    Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 16 of 24 PageID #:4311




conversation was inadmissible in determining whether a loan modification agreement existed.

And because servicing had already transferred (which Hammer knew), the FDIC had no

authority over the loan in any event. Thus, Hammer’s August 2010 conversation with the FDIC

is irrelevant in determining whether an enforceable loan modification agreement exists.

        In summary, Hammer’s contract and ICFA claims fall apart without an enforceable loan

modification. Hammer undisputedly defaulted on the original terms of her loan, and she had the

burden of proving a loan modification that cured her default, but she did not do so. Hammer was

offered a loan modification, but she rejected it and counteroffered with a loan amount reduced by

over $2,300. Hammer’s counteroffer was never accepted, so no loan modification agreement was

ever formed, and RCS therefore properly pursued collection and foreclosure. As a result,

judgment for RCS must be entered on Hammer’s contract and ICFA5 claims.

II.     Punitive damages should not have been submitted to the jury as a matter of law.

        Assuming judgment is entered for RCS on Hammer’s two ICFA claims, judgment must

also be entered for RCS on Hammer’s punitive-damage claim because the ICFA claims were the

only claims on which the jury was authorized to award punitive damages. See Doc. No. 179, pp.

25, 42, 43, 52 (damages instructions for Hammer’s claims). But even if judgment stands on the
5
  Judgment for RCS is also required on both ICFA claims because there was no evidence of recoverable
damages. While Hammer introduced evidence of emotional distress, the jury was properly instructed that
“in order for Hammer to recover emotional damages, she must prove she sustained actual economic
damages.” Doc. No. 179, p. 39. See also Morris v. Harvey Cycle and Camper, 392 Ill. App. 3d 399, 402
(Ill. App. Ct. 2009) (affirming dismissal of ICFA claim because “plaintiff did not allege actual damages
in the form of specific economic injuries. She alleged only emotional damages.”). And, Hammer’s
attorneys’ fees, court time, or other economic damages relating to the foreclosure filing are not
recoverable because the filing of a lawsuit cannot be the basis for an ICFA claim as a matter of law.
Mehra v. Shindler, No. 14-cv-7506, 2015 WL 1996793, * 4 (N.D. Ill. Apr. 29, 2015) (dismissing ICFA
claims based on litigation privilege; “[t]he only proper cause of action based on the filing of a lawsuit is
either malicious prosecution or abuse of process.”). Thus, Hammer has no recoverable damages on her
ICFA claims, and judgment is required for this additional reason. Judgment is also required on Hammer’s
ICFA deception claim because there is no evidence she was deceived. See De Bouse v. Bayer, 235 Ill. 2d
544, 555 (2009) (“[W]e have repeatedly emphasized that in a consumer fraud action, the plaintiff must
actually be deceived by a statement or omission.”). Hammer cannot establish she was deceived because
Hammer never testified to any action she took based on RCS’s allegedly deceptive conduct.


                                                     11
 Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 17 of 24 PageID #:4312




ICFA claims, judgment for RCS must still be entered on Hammer’s punitive-damage claim

because the evidence was insufficient to support punitive damages.

       Punitive damages are not favored under Illinois law. Europlast, Ltd. v. Oak Switch

Systems, Inc., 10 F.3d 1266, 1276 (7th Cir. 1993) (“The Illinois Supreme Court has noted that

‘[b]ecause of their penal nature, punitive damages are not favored in the law, and courts must be

cautious in seeing that they are not improperly or unwisely awarded.’”) quoting Deal v. Byford,

127 Ill.2d 192 (1989). Illinois allows punitive damages only when misconduct is “outrageous,

either because the defendant’s acts are done with an evil motive or because they are done with

reckless indifference to the rights of others.” Styx v. Wells Fargo Bank, N.A., No. 09-5960, 2010

WL 1253971, *3 (N.D. Ill. Mar. 24, 2010) (citing Loitz v. Remington Arms Co., 138 Ill.2d 404,

415-16 (1990); Stafford v. Puro, 63 F.3d 1436, 1443 (7th Cir. 1995) (the Illinois Supreme Court

“uniformly has required some kind of outrageous behavior for a recovery of punitive damages,

something not necessarily presented by unjustified conduct”).

       A trial court’s decision to submit punitive damages to the jury is reviewed de novo by an

appellate court. Europlast, 10 F.3d at 1276. The Seventh Circuit has reversed jury awards of

punitive damages where the evidence is insufficient to support the jury’s conclusion that such

damages were appropriate. Id. at 1277 (reversing punitive damage award due to “little if any

evidence of ‘gross,’ ‘wanton’ or ‘malicious’ conduct”). Further, courts have specifically

recognized that punitive damages are inappropriate where a defendant’s conduct was based on a

good-faith legal conclusion, even if that conclusion is later found incorrect. Jeppesen v. Rust,

8 F.3d 1235, 1237 (7th Cir. 1993) (reversing punitive damages award where plaintiff’s “principal

contention” was that defendants violated the terms of a joint venture and defendants denied the

existence of the joint venture); Phillips. v. Old Ben Coal Co., 1991 Ill. App. LEXIS 72, * 21 (Ill.



                                                 12
 Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 18 of 24 PageID #:4313




App. Ct. 1991) (affirming summary judgment on punitive damage claim where defendant

breached duty to plaintiff based on “good faith belief that the [unenforceable contractual] waiver

relieved them of any legal duty to prevent [damages at issue]”); Imperial Utility Corp. v. Cytron,

673 S.W.2d 858, 859 (Mo. Ct. App. 1984) (affirming directed verdict on punitive damages;

“While the jury did find lawyer guilty of conversion …, we do not believe defendant’s acts were

in any way willful, wanton, malicious or so reckless as to be in utter disregard of consequences.

The evidence indicates at most lawyer made an honest mistake.”).

       Here, all of RCS’s conduct was based on its belief that no loan modification existed, and

that Hammer was therefore in default under her original loan. RCS had a strong basis for that

belief as set forth above. But even if this Court somehow disagrees with RCS’s legal conclusion,

RCS certainly had a reasonable and good faith basis for its belief. There is no evidence to

suggest RCS was recklessly denying the validity of an obviously valid modification.

       RCS’s good faith is further demonstrated by RCS’s repeated attempts to provide Hammer

an alternative loan modification to cure her default and avoid further collection and foreclosure

activity. Hammer’s loan was in default when it transferred to RCS, and RCS immediately invited

Hammer to apply for a loan modification. Ex. 8 hereto, Def. Tr. Ex. 16; Ex. 1, pp. 609:5–610:4.

When Hammer sent RCS the loan modification agreement she had revised, RCS immediately

informed Hammer that no valid modification existed because Hammer had changed the terms of

the modification the FDIC had offered. Ex. 1, p. 922:7–10. At that time, RCS again invited

Hammer to apply for a loan modification, but she refused, insisting that the loan modification

she proposed (with a reduced loan amount and mismatched payment) should control. Ex. 1, p.

922:11–16. Despite Hammer’s refusal to apply for a loan modification, RCS evaluated her for a

loan modification using information she had submitted to the FDIC, and offered her a loan



                                                13
    Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 19 of 24 PageID #:4314




modification with terms that were nearly identical to the modification offered by the FDIC. Ex. 9

hereto, Def. Tr. Ex. 34 (9/20/10 RCS letter to Hammer offering her modification with identical

interest rate as, and monthly payment only $4/month higher than, FDIC’s proposed

modification); Ex. 1, 632:17–634:9; 636:2–638:11. Ms. Hammer again refused that modification,

insisting that she should receive the modification she cobbled together from the FDIC’s proposal

and the reduced loan amount she created. Ex. 1, pp. 922:22–923:8. RCS only prosecuted the

foreclosure after Hammer refused RCS’s repeated offers of assistance.6

        Given the very strong basis RCS had for believing that no enforceable loan modification

existed, and given RCS’s other attempts to provide Hammer loan modifications, there was no

basis for the submission of punitive damages to the jury. Judgment on Hammer’s claim for

punitive damages should therefore be entered in RCS’s favor.

III.    Judgment should be entered in RCS’s favor on Hammer’s RESPA claim.

        A.      There was no valid QWR because the letter was sent to the wrong address.

        Hammer’s RESPA claim was based on a purported qualified written request (QWR) sent

by Hammer’s attorney Jack Kozar to RCS on October 28, 2011. Judgment on the RESPA claim

must be entered in RCS’s favor because there is no evidence that Kozar sent the letter to the

address designated by RCS for a QWR. As a result, the letter (even assuming it otherwise met

the criteria for a QWR) did not trigger any obligations under RESPA.

        RESPA’s implementing regulations allow servicers to “establish a separate and exclusive

office and address for the receipt and handling of qualified written requests” by notifying

borrowers of the address in either the servicing transfer notice or in a separate mailing. 24 C.F.R.


6
 As discussed in RCS’s separately filed Motion for New Trial, RCS attempted to introduce other loan
modification offers it made to Hammer as additional evidence of its good faith. Motion for New Trial, pp.
2–4. This evidence should have been admitted, and would further show punitive damages should not have
been submitted to the jury.


                                                   14
    Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 20 of 24 PageID #:4315




§ 3500.21(e)(1).7 Many courts, including the only two Circuit Courts of Appeal to consider the

issues, hold that RESPA’s obligations are not triggered when a borrower fails to send a QWR to

the address designated by the servicer. Berneike v. CitiMortgage, Inc., 708 F.3d 1141, 1148-49

(10th Cir. 2013) (affirming dismissal of RESPA claim; “Failure to send the QWR to the

designated address for receipt and handling of QWRs does not trigger the servicer’s duties under

RESPA.”); Roth v. CitiMortgage, Inc., 756 F.3d 178, 181-82 (2d Cir. 2014) (affirming dismissal

of RESPA claim; “As long as a servicer complies with the notice requirements of 24 C.F.R.

§ 3500.21 for designating a QWR address, a letter sent to a different address is not a QWR, even

if an employee at that address (who may not have training in RESPA compliance) in fact

responds to that letter.”); Bally v. Homeside Lending, Inc., No. 02 C 5799, 2005 WL 2250856, at

*2-3 (N.D. Ill. Sept. 8, 2005) (summary judgment on RESPA claim; “only a request sent to the

[designated address] may constitute a qualified written request to defendant.”).

        Here, RCS followed the procedure in 24 C.F.R. § 3500.21 by designating an address

(4282 N. Freeway, Fort Worth, TX 76137) for borrowers to send QWR’s. See Ex. 6 hereto, Def.

Tr. Ex. 22, p. 3. But Hammer’s attorney sent the purported QWR to a different address: P.O. Box

163889. Ex. 11 hereto, Pl. Tr. Ex. 54, p. 1. And, there was no evidence establishing that the

address to which the letter was sent had been designated by RCS at the time the letter was sent.

Thus, because Hammer did not send the letter to the address specifically designated by RCS for

QWR’s, the letter did not trigger any obligations under RESPA. As a result, judgment must be

entered for RCS on Hammer’s RESPA claim.




7
 The version of 24 C.F.R. § 3500.21 that was in effect in November 2011 when the purported QWR was
sent is attached hereto as Ex. 10. The regulation was changed in 2014.


                                                15
 Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 21 of 24 PageID #:4316




       B.      Hammer suffered no damages from any alleged RESPA violation.

       Further, judgment for RCS must be entered on the RESPA claim because Hammer

introduced no evidence that she was damaged by the alleged RESPA violation. As the jury was

properly instructed, actual damages are an element of a RESPA claim. Doc. No. 179, p. 52

(“Hammer must also establish that she suffered damages proximately caused by the RESPA

violation.”). Further, it is not enough to show damage from other conduct by a loan servicer; the

damage must directly flow from the RESPA violation. See Byrd v. Homecomings Financial

Network, 407 F. Supp. 2d 937, 946 (N.D. Ill. 2005) (dismissing RESPA claim where damages

not caused by failure to respond to a QWR, but rather by earlier, separate conduct by servicer).

       Here, Hammer introduced no evidence of damages resulting from RCS’s credit reporting

within 60 days of receipt of the purported QWR. Though Hammer was upset by negative credit

reporting over the course of several years, she admitted that she could not remember any

particular month or year when she obtained a credit report. Ex. 1, p. 904:6-16, p. 933:14-934:6.

Hammer only said she obtained a credit report “[l]ike every year, year and a half, two years,”

(Id., p. 934:3–4), but did not say she viewed a credit report reflecting RCS’s credit reporting

within 60 days of receipt of the purported QWR. Similarly, Hammer never offered evidence that

RCS’s November 7, 2011 response to the purported QWR caused her damages, or that she even

viewed the response or discussed it with Mr. Kozar, to whom it was sent.

       Because Hammer never tied any RESPA violation to emotional distress or other

damages, judgment must be entered on the RESPA claim. See Konieczka v. Wachovia Mortg.

Corp., No. 11 C 0071, 2012 WL 1049910, at *4 (N.D. Ill. Mar. 28, 2012) (dismissing RESPA

claim where no evidence that negative credit reporting caused economic damage such as higher

interest rate or denial of credit); Diedrich v. Ocwen Loan Servicing, LLC, No. 13-CV-693, 2015

WL 1885630, at *9 (E.D. Wis. Apr. 24, 2015) (summary judgment on RESPA claim where

                                                 16
 Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 22 of 24 PageID #:4317




plaintiffs “have not established a causal connection between the RESPA violation (Ocwen’s

failure to respond to the [QWR] for information) and their emotional distress.”).

                                        CONCLUSION

       Hammer’s attempt to modify the FDIC’s proposed loan modification was a counteroffer

that was never accepted, and the lack of an enforceable loan modification eliminates any basis

for Hammer’s contract and ICFA claims. Judgment for RCS on the contract and ICFA claims

must be entered for that reason. Judgment for RCS should also be entered on the punitive

damage claims because all of RCS’s conduct was based on its reasonable (and correct) belief that

no valid loan modification existed, and there was no evidence that RCS’s acted willfully or

wantonly toward Hammer. Indeed, the unrebutted evidence was that RCS repeatedly tried to

provide Hammer an alternative loan modification. Finally, judgment for RCS on Hammer’s

RESPA claims should be entered because the purported QWR was sent to the wrong address,

and because there was no evidence the alleged RESPA violation damaged Hammer. For these

reasons, judgment should be entered for RCS on all claims. Alternatively, if any portion of

Hammer’s claims survive this motion, RCS requests a new trial, or a reduction in damages, for

the reasons set forth in the motions filed separately by RCS.




                                                17
Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 23 of 24 PageID #:4318




                                    Respectfully submitted,

                                    Residential Credit Solutions, Inc.

                                    /s/ P. Russell Perdew
                                    P. Russell Perdew
                                    Locke Lord LLP
                                    111 South Wacker Drive
                                    Chicago, Illinois 60606
                                    (312) 443-1712
                                    rperdew@lockelord.com

                                    John P. Ryan
                                    HINSHAW & CULBERTSON
                                    222 N. LaSalle Street, Ste 300
                                    Chicago, IL 60601
                                    (312) 704-3000
                                    jryan@hinshawlaw.com




                                      18
 Case: 1:13-cv-06397 Document #: 189 Filed: 06/03/15 Page 24 of 24 PageID #:4319




                              CERTIFICATE OF SERVICE


        I, an attorney, hereby certify that on June 3, 2015, I electronically filed the above
document with the Clerk of the Court using the CM/ECF system which will send notification of
such filing to all counsel of record.

                                         /s/ P. Russell Perdew
                                         P. Russell Perdew




                                             19
